      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 1 of 23




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 DOBSON MILLS APARTMENTS, ET. :                        No. 21-00273
 AL.                           :
                Plaintiffs,    :
                               :
 v.                            :
                               :
 CITY OF PHILADELPHIA, ET. AL. :
                               :
                Defendants.    :


   PLAINTIFFS’ BRIEF IN SUPPORT MOTION FOR SUMMARY JUDGMENT

      The plaintiffs respectfully move for summary judgment, as there are no

genuine issues of material fact, and the plaintiffs are entitled to judgment as a matter

of law.

                                  INTRODUCTION

      This case involves a 2006 agreement between plaintiffs, Dobson Mills and

Mansion at Bala, and the defendants. That agreement concerns two parcels of

property. One is located at 4041 Ridge Avenue in Philadelphia and is owned by

Dobson Mills. The other is located at 4700 City Avenue in Philadelphia and is owned

by Mansion at Bala. The agreement states that Dobson Mills and Mansion at Bala

shall only contract with union contractors and subcontractors for any improvements

to those parcels. That means only construction managers, general contractors, and

subcontractors that have collective bargaining agreements with a union affiliated

with the Philadelphia Building and Construction Trades Council (the “Unions”).



                                              1
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 2 of 23




      This case seeks a declaratory judgment regarding that agreement. Mellon

Bank, N.A. v. Aetna Bus. Credit, Inc., 619 F.2d 1001, 1011, n. 10 (3d Cir. 1980)

(“unambiguous writings are interpreted by the court as a question of law.”) The Court

should make two declarations. First, the Court should declare the agreement void

and unenforceable as to plaintiff Dobson Scotts, a successor to Dobson Mills, and to

any other future successors to plaintiffs, because Dobson Scotts is not a party to the

agreement and the agreement is not real covenant that runs with the land. The court

should also declare the agreement void in all respects because it violates section 8(e)

of the National Labor Relations Act, 29 U.S.C. § 158(e) and Section 1 of the Sherman

Act, 15 U.S.C. § 1 and the 5th Amendment to the United States Constitution.

      The agreement is not binding on Dobson Scotts – nor any other successors –

because Dobson Scotts is not a party to the agreement and the agreement is not a

real covenant running with the land. It is a well-established principle of ordinary

contract law that a contract cannot impose obligations upon one who is not a party to

the contract, Juniata Valley Bank v. Martin Oil Co., 736 A.2d 650, 663 (1999), and is

not binding on future successors. The Treasure Lake Prop. Owners Ass'n, Inc. v.

Meyer, 832 A.2d 477, 482 (2003). There exists a limited exception to this rule for real

covenants “that run with the land.” Id. It is true that real covenants can be imposed

on future successors. Id. But the real covenant must be part of a conveyance to do so.

Morning Call, Inc. v. Bell Atl.-Pennsylvania, Inc, 761 A.2d 139, 142, n. 5 (2000).

Moreover, that conveyance must be recorded. 21 P.S. § 356. The 2006 agreement at

issue in this case was not created by a conveyance and was never recorded. So, as a



                                              2
       Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 3 of 23




matter of law, the Court should declare that the 2006 agreement is not binding on

plaintiff, Dobson Scotts, a successor who is not a party to the agreement, nor is

binding on any other future successors of the properties the agreement concerns.

      The agreement is also void and unenforceable as to all parties, including

plaintiffs Dobson Mills and Mansion at Bala, because it violates Section 8(e) of the

National Labor Relations Act. Section 8(e) states that any agreement between an

employer and a labor organization whereby the employer refuses to do business with

another person or entity is void and unenforceable. See, Connell Const. Co., Inc. v.

Plumbers and Steamfitters Local Union No. 100, 421 U.S. 616 (1975); Larry V. Muko,

Inc. v. Southwestern Pennsylvania Bldg. and Const. Trades Council, 609 F.2d 1368

(3rd. Cir. 1979).

      Accordingly, plaintiffs are entitled to judgment as a matter of law.

      Summary judgement is appropriate as defendants have acknowledged and

failed to assert otherwise, based on their previously filed motions, that no genuine

issues of material fact remain in this case.

                               UNDISPUTED FACTS

   1. The 2005 Litigation.

          a. The state court actions removed to this court.

      In September 2001, Winther Investment, Inc. entered into an agreement of

sale for a parcel of land located at 4041 Ridge Avenue. Declaration of Frederic




                                               3
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 4 of 23




Gautier-Winther (Gautier decl.), ¶ 3 1. The site contained old industrial buildings that

were converted into rental apartments by a previous owner in the 1990’s. Id., ¶ 4. The

site also contained obsolete industrial buildings that were abandoned. Id., ¶ 5. On

this site, Winther planned to renovate the existing residential buildings and demolish

the abandoned structures to construct additional residential buildings. Id., ¶ 6. In all,

there would be 415 apartment units and 6 retail units and approximately 3.2 acres

of vacant land remaining for future conveyance or development. Id., ¶ 7. Winther

obtained a zoning permit from the city for that project and then transferred its

interest in the property to Dobson Mills. Id., ¶ 8. Thereafter, Dobson Mills engaged

Tocci Building Corporation to act as the general contractor for the project and began

construction. Id., ¶ 9. Tocci was not affiliated with the Unions. Id., ¶ 10. Tocci was

also responsible for hiring all subcontractors and suppliers on the project. Id., ¶ 11.

      Once construction began, various unions began picketing the site. Id., ¶ 12. On

October 26, 2005, there was a protest at the site involving an estimated 2,000 person,

including (then) Councilmember Michael Nutter and members of the unions. Id., ¶

13.

      On October 27, 2005, Councilmember Nutter introduced a resolution to

Philadelphia City Council that instructed the city’s Law Department to institute a

legal action against Winther and Tocci. A copy of that resolution is attached at exhibit



1Frederic Gautier-Winther the owner and president of Winther Investment, Inc., and
the president and manager of the General Partner for each of the plaintiff entities:
Dobson Mills Apartments, L.P., Dobson Scotts, L.P., and Mansion at Bala, L.P.
Gautier decl, ¶ 1.

                                               4
          Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 5 of 23




1 2. The resolution requested that the Law Department initiate litigation to “secure

full compliance with the Philadelphia Building Code and with the terms and

conditions of a zoning permit issued for the residential development project located

at 4041 Ridge Avenue, including if necessary, filing for a Temporary Restraining

Order to stop construction until compliance is achieved.” Id.

          Speaking in support of his resolution, Councilmember Nutter stated the

resolution concerned the "general issue of how construction projects and development

projects in the City are monitored by the various agencies" and the "issues of

competency of the work force, composition of the work force and similar issues."

Council of the City of Philadelphia, 10/27/05, 54:23-25, 55:1-6 at exhibit 2 3.

Councilmember Nutter also referred to the union protest at 4041 Ridge Avenue site.

Id, 55:12-22. He said the resolution would benefit various interest groups "[w]hether

it's union, African-Americans, workers, contractors...." Id., 56:1-7. Nutter apparently

believed that Winther, during the zoning process, made certain commitments

regarding those use of labor from these interest groups and stated that the resolution

was designed to:

          “address the issue of when entities come before City agencies and make
          statements on the record to how they will conduct themselves, those
          commitments should be carried through. They be followed through, and
          if not, then we should find ourselves in court addressing those particular
          issues.

          And so this resolution seeks to put forward the opportunity for us to
          either get representation by the Law Department or outside counsel, if
          necessary, to seek a temporary restraining order with regard to that
          development activity to get to the hear of the matter, which is when

2   Declaration of Walter S. Zimolong, Esq., ¶ 4.
3   Zimolong decl., ¶ 5.

                                                    5
       Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 6 of 23




       people make commitments, whether its to us as elected officials or to
       City agencies on the record, those commitment must be followed
       through.”


Id., 56:8-25, 57:1-7.

Councilmember Nutter concluded his remarks by declaring the litigation was

designed to “get what is properly owed to the citizens of this City.” Id., 60:1-3

       On November 18, 2005, the city filed a complaint and petition for a permanent

injunction against Winther and Tocci. Copies of these filings are attached at exhibits

3, and 4, respectively. On December 5, 2005, the complaint and petition were removed

to this Court at docketed at 2:05-cv-06236-JCJ and 2:05-cv-06237-JCJ, respectively.

Id.

             b. The state court action to revoke Mansion at Bala’s zoning permit.

       The same day the city filed its complaint for specific performance and petition

for an injunction on the ongoing project located at 4041 Ridge Avenue,

Councilmember Nutter filed a separate action in the form of an appeal of a zoning

permit issued to Mansion at Bala for its project located at 4700 City Avenue. A copy

of the docket for that appeal is attached at exhibit 5 4. That project was for the

development of residential apartment buildings at 4700 City Avenue. Nutter’s appeal

sought a revocation of the zoning permit issued to Mansion at Bala for the 4700 City

Avenue project.




       4   Zimolong decl., ¶ 6.

                                               6
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 7 of 23




   2. The 2006 Settlement Agreement.

      On May 30, 2006, Dobson Mills, Mansion at Bala, the city, and the Unions

settled both the litigation removed to this Court and the zoning appeal by executing

a settlement agreement, which is the subject matter of this litigation. A true and

correct copy of the agreement is attached at Exhibit 6, see Def’s Ans. to Request for

Admission 1, ex.7. Dobson Scotts is not a party to the agreement. Id. That agreement

was never recorded.

      Paragraph 2 of the agreement states:

      “Bala Owner hereby agrees that any contract it enters into for the
      performance of Covered Work will only be with a construction manager,
      general contractor, and/or subcontractor which is (are) signatory (ies) to
      the said Trades Council Agreement and to the appropriate, specific craft
      agreement(s) with the Union(s) having traditional and customary
      jurisdiction over the work performed by that contractor or
      subcontractor, (hereafter “Covered Work Contract”). “Covered Work,”
      for purposes of this paragraph 2, is new construction to be performed at
      the Bala Site, whether the First or Second Phase Projects currently
      approved by the Zoning Board or such other project(s) which may be
      hereinafter approved by the Zoning Board.”


Agreement, ¶ 2.

      Under the agreement, Mansion at Bala completed the Bala First Phase on a

portion of the site located 4700 City Avenue using a general contractor who was a

signatory with the Unions. Construction of the Bala First Phase began in 2008 and

was completed several years later. Gautier decl., ¶ 14, 15. There has never been a

Bala Second Phase and the vacant land remaining on the parcel at 4700 City Avenue

has not been developed. Id., ¶ 16.

      Paragraph 3 of the agreement varies slightly and states:

                                             7
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 8 of 23




             “Dobson Owner hereby agrees that any contract it enters into for
      the performance of Covered Work on the Dobson Mills Second Phase
      Project will only be with a construction manager, general contractor,
      and/or subcontractor which is (are) signatory (ies) to the said Trades
      Council Agreement and to the appropriate, specific craft agreement(s)
      with the Union(s) having traditional and customary jurisdiction over the
      work performed by that contractor or subcontractor, (hereafter “Covered
      Work Contract”). “Covered Work,” for purposes of this paragraph 3, is
      future new construction to be performed at the Dobson Mills Site,
      whether the Dobson Mills Second Phase Project currently contemplated
      or such other project which may be hereinafter approved by the Zoning
      Board. “Covered Work” does not include work or construction activities
      performed on the “Existing Dobson Residences” or the Dobson Mills
      First Phase Project.”


Agreement, ¶ 3 (emphasis added).

      The Existing Dobson Residences and the Dobson Mills First Phase Project is

that project located at 4041 Ridge Avenue, where the union protest with

Councilmember Nutter occurred. Id., ¶ 17. That is also the project for which the

Resolution was passed and from which the City’s litigation arose. Id., ¶ 18.

Importantly, paragraph 3 did not prohibit Dobson Mills from using non-union labor

on Dobson Mills First Phase and Dobson Mills was permitted to continue construction

(and did) of that phase using its existing non-union work force hired by Tocci. Id., ¶

19. Rather paragraph 3 applied to any future and potential Phase 2 development on

the vacant land remaining of the parcel located at 4041 Ridge Avenue. Dobson Mills

has never constructed a Phase 2. Id., ¶ 20.

   3. Dobson Scotts acquires a portion of 4041 Ridge Avenue.

      Although not a party to the Agreement, Dobson Scotts acquired the vacant and

undeveloped portion of the 4041 (now 4055) Ridge Avenue parcel from Dobson Mills,



                                              8
       Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 9 of 23




which had been subdivided into a separate property with an address of 4021 Ridge

Avenue. Id., ¶ 21. On December 12, 2019, Dobson Scotts obtained a zoning permit for

4021 Ridge Avenue. Id., ¶ 22. On August 11, 2020, Dobson Scotts obtained a building

permit for 4021 Ridge Avenue for the construction of a privately funded 133-unit

multi-family project. Id., ¶ 23. Dobson Scotts also received approval of a 10-year tax

abatement for the project. Both the permit and tax abatement will expire early next

year. Dobson Scotts seeks to develop the project and to start prior to expiration of the

permit and abatement but this project is at a standstill until the issues raised in this

lawsuit are resolved. Dobson Scotts risks losing over one million dollars in permit,

design and other fees and expenses paid to date in connection with the development

of this new project.



   4. Mansion at Bala remaining development rights.

       Mansion at Bala can construct up to 175 additional units on the remaining

vacant portion of its parcel located at 4700 City Avenue or it can seek to develop any

other real estate project that complies with the city’s laws and regulations. Id., ¶ 24.

It would like to further develop that vacant portion of the property or sell or transfer

all or part of the 4700 City Avenue property to a third-party. Id., ¶ 25.

                                     ARGUMENT

  I.     THE   2006    AGREEMENT IS NOT A REAL COVENANT AND DOES NOT BIND DOBSON
         SCOTTS AND OTHER FUTURE SUCCESSORS.


       Before addressing the questions of whether the agreement is void under federal

labor law, the Court can apply basic contract law to declare the agreement does not

                                              9
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 10 of 23




bind any non-signatories or successors. The agreement is not binding on Dobson

Scotts, a non-signatory, nor any other successor to plaintiffs, because they are not

parties to the agreement, and it does not run with the land.

      It is a well-established principle of ordinary contract law that a contract cannot

impose obligations upon one who is not a party to the contract, Juniata Valley Bank

v. Martin Oil Co., 736 A.2d 650, 663 (1999), and which does not state it is binding on

future successors. The Treasure Lake Prop. Owners Ass'n, Inc. v. Meyer, 832 A.2d

477, 482 (2003). There exists a limited exception to this rule for real covenants “that

run with the land.” Id. Real covenants can be imposed on future successors. Id. But

those covenants require a conveyance to be created, Morning Call, Inc. v. Bell Atl.-

Pennsylvania, Inc, 761 A.2d 139, 142, n. 5 (2000). Furthermore, that conveyance must

be recorded. 21 P.S. § 356.

      These conditions are not present in the agreement. First, plaintiff Dobson

Scotts is not a party to the agreement. So, the agreement cannot bind it. Next, the

agreement does not contain a clause binding future successors and assigns. So, not

only does it not bind Dobson Scotts but it does not bind any other successor either.

Finally, the agreement is not a conveyance. It did not convey any real property.

Rather, it was executed to settle litigation. It also was never recorded.

      21 P.S. § 356 requires agreements concerning real property “of a permanent

nature” shall be recorded with the recorder of deeds. Section 356 states:

      “All agreements in writing relating to real property situate in this
      Commonwealth by the terms whereof the parties executing the same do
      grant, bargain, sell, or convey any rights or privileges of a permanent
      nature pertaining to such real property, or do release the grantee or

                                             10
        Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 11 of 23




        vendee thereunder against damages which may be inflicted upon such
        real property at some future time, shall be acknowledged according to
        law by the parties thereto or proved in the manner provided by law, and
        shall be recorded in the office for the recording of deeds in the county or
        counties wherein such real property is situate.”

21 Pa. Stat. Ann. § 356 (emphasis added)

Under Section 356 a covenant running with the land must be recorded to be binding.

“[T]he word ‘shall’ usually connotes a requirement.” Maine Cmty. Health Options v.

United States, ––– U.S. ––––, 140 S.Ct. 1308, 1320, 206 L.Ed.2d 764 (2020); see also

Scalia & Garner, Reading Law 112 (“When drafters use shall and may correctly, the

traditional rule holds—beautifully.”) Defendants’ position is that the restriction to

use union only labor to improve the properties is permanent in nature (otherwise the

matter would not be before the court.)        The statute says for that to occur the

agreement must be recorded. Here, that never happened.

        Thus, as a matter of law, the Court should grant summary judgment and

declare that the 2006 agreement is not binding on plaintiff, Dobson Scotts, a successor

who is not a party to the agreement, nor binding on any other future successors to

the owners of the properties subject to the agreement.


  II.     THE 2006 AGREEMENT IS VOID AND UNENFORCEABLE BECAUSE IT VIOLATES
          FEDERAL LAW.



  Common law contract principles are not the only reason to void the agreement.

The agreement is also void and unenforceable in all respects – even to the signatories

– because it violates federal labor law.




                                               11
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 12 of 23




       The agreement violates federal labor law because it is a so called “hot cargo

agreement,” which is an agreement between a labor union and an employer whereby

the employer agrees not to do business with a third party. Spectacor Mgmt. Grp. v.

N.L.R.B., 320 F.3d 385, 390 (3d Cir. 2003). Under section 8(e) of the National Labor

Relations Act, 29 U.S.C. § 158(e), such agreements are void and unenforceable. Id. at

392 (“We have made clear that hot cargo clauses may be invalid per se if the provision

is “ ‘secondary in [its] purpose as well as [its] result.’”)


       Section 8(e) states:

       “Enforceability of contract or agreement to boycott any other employer;
       exception

       It shall be an unfair labor practice for any labor organization and any
       employer to enter into any contract or agreement, express or implied,
       whereby such employer ceases or refrains or agrees to cease or refrain
       from handling, using, selling, transporting or otherwise dealing in any
       of the products of any other employer, or to cease doing business with
       any other person, and any contract or agreement entered into heretofore
       or hereafter containing such an agreement shall be to such extent
       unenforcible1 and void: Provided, That nothing in this subsection shall
       apply to an agreement between a labor organization and an employer in
       the construction industry relating to the contracting or subcontracting
       of work to be done at the site of the construction, alteration, painting, or
       repair of a building, structure, or other work: Provided further, That for
       the purposes of this subsection and subsection (b)(4)(B) the terms “any
       employer”, “any person engaged in commerce or an industry affecting
       commerce”, and “any person” when used in relation to the terms “any
       other producer, processor, or manufacturer”, “any other employer”, or
       “any other person” shall not include persons in the relation of a jobber,
       manufacturer, contractor, or subcontractor working on the goods or
       premises of the jobber or manufacturer or performing parts of an
       integrated process of production in the apparel and clothing industry:
       Provided further, That nothing in this subchapter shall prohibit the
       enforcement of any agreement which is within the foregoing exception.”




                                                 12
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 13 of 23




29 U.S.C.A. § 158 (e)(emphasis added)

An agreement between a labor union and employer with whom it has no existing

collective bargaining relationship that requires that employer to utilize only union

labor for a construction project violates section 8(e). Connell Const. Co., Inc. v.

Plumbers and Steamfitters Local Union No. 100, 421 U.S. 616 (1975); Larry V. Muko,

Inc. v. Southwestern Pennsylvania Bldg. and Const. Trades Council, 609 F.2d 1368

(3rd. Cir. 1979); and Glens Falls Bldg. & Constr. Trades Council, 350 NLRB 417

(2007) (“Indeck”).

      In Connell the issue before the Supreme Court was identical to that before this

Court. So was the procedural posture. In that case, the building trades union, Local

100, picketed a general contractor, Connell Construction, for the purpose of obtaining

an agreement with it whereby the general contractor would only let subcontracts for

mechanical contracting work to union affiliated with the union. Connell, 421 U.S. at

618. The picketing succeeded and Connell executed an agreement with Local 100. Id.

at 619. Connell then filed a declaratory judgment action claiming the agreement

violated section 1 and 2 of the Sherman Act. The Supreme Court held that the

agreement could violate the Sherman Act and that section 8(e) did not shelter it from

those antitrust laws.

      While Connell was an antitrust case, its holding is important because the

Supreme Court examined whether the agreement in question violated Section 8(e) of

the National Labor Relations Act. Local 100 argued that the agreement was

permitted under Section 8(e) and, therefore, the Court should defer to the National



                                             13
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 14 of 23




Labor Relations Act. Id. Local 100 argued that under the “construction industry”

proviso to section 8(e) the agreement in question was permitted under Section 8(e).

Under the construction industry provisio in Section 8(e), an agreement between a

union and a “construction industry employer” that prohibited subcontracting to only

union firms fell outside the auspices of Section 8(e). Id. at 627.

      Connell countered the construction industry proviso only applied to situations

were there was an existing collective bargaining relationship with the union. Id. And

that the provision did not permit a union, like here, “to approach a ‘stranger’

contractor and obtain a binding agreement not to deal with nonunion subcontractors.”

Id. at 627-628.

      The Court agreed with Connell. It held that the construction industry proviso

in Section 8(e) “extends only to agreements in the context of collective-bargaining

relationships and in light of congressional references to the Denver Building Trades

problem, possibly to common-situs relationships on particular jobsites as well.” Id. at

633. The Supreme Courts reference to the Denver Building Trades problem means

the agreement is used as a vehicle to prohibit friction between union and non-union

employees working side-by-side.

      In Larry V. Muko, Inc., the Third Circuit addressed the validity of an

agreement under section 8(e). Larry V. Muko, Inc., 609 F.2d at 1368. That case also

arose out of a claim under the Sherman Act. Muko was a non-union general contractor

who brought an antitrust claim against the Southwestern Pennsylvania Building and

Construction Trades Council. Muko claimed that an agreement between Silver’s and



                                              14
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 15 of 23




the trades council violated the Sherman and Clayton Acts. That agreement, like the

agreement here, barred Silver’s from awarding construction contracts with any

contractor or subcontract who did not have a collective bargaining agreement with a

union affiliated with the trades council. Id. at 1370.

      In that case, the unions picketed and protested Silver’s construction projects.

Id. at 1371. Wanting the picketing and protests to end, Silver’s entered into an

agreement, like the agreement here, whereby it agreed to use only union labor on

future construction projects. Id. Muko had worked with Silver’s previously and

wanted to continue building restaurants for it. Id. Silver’s asked Muko if it would

build as a union contractor and Muko refused. Id. It was subsequently asked not to

build on any further jobs by Silver’s. Id.

      The trial court granted the trades council a directed verdict and the Third

Circuit overturned. It held that a directed verdict was only properly if the agreement

was exempt from antitrust scrutiny. Id. The Court looked to Connell for guidance. It

affirmed that under Connell an agreement, like the agreement here, is not valid

under section 8(e) unless it arises out of an existing collective bargaining relationship

or is limited to a particular job site to reduce job site friction between union and non-

union workers. Id. at 1374. The Court concluded that absent those circumstances a

jury could have found the agreement fell “within the prohibition of [section] 8(e) since

it required Silver’s to “cease doing business” with Muko and all other nonunion

contractors.” Id. This is precisely what the agreement does here.




                                              15
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 16 of 23




      Finally, in Indeck the National Labor Relations Board had held that an

agreement, identical to the agreement here, whereby an employer and a union agree

not to permit contracting or subcontracting non-union firms violated Section 8(e) and

was void. Indeck, like plaintiffs, was the owner of real estate, specifically a

cogeneration power plant. Indeck, 350 NLRB at 418. Like plaintiffs, it did not employ

any workers in the building and construction trades. Id. Indeck wanted to build four

cogeneration electric facilities. One of those facilities was located in Olean, New York.

Indeck engaged CRS Serrine as the project manager for the Olen project. Following

discussion with the local building trades, Indeck instructed its project manager,

Serrine, to execute an agreement with the building trades that, like here, stated:

      “Sirrine agrees that any contractor or subcontractor which is employed
      on the Project shall be a signatory to and abide by all of the terms
      contained in the Project Labor Agreement for the Indeck - Corinth
      Limited Partnership Cogen Project, Corinth, New York (hereinafter “The
      Project Agreement”). A copy of the Project Agreement negotiated by
      Sirrine and the [Respondent Trades Council] is attached. Sirrine will not
      be a signatory to the Project Agreement itself.”


Id. at 420 (2007)

      Later, before any construction work began on the Olean project, a dispute arose

between Indeck and Serrine that caused Indeck to replace it with another project

manager, CNF Constructors, Inc. Id. CNF did not sign an agreement with the unions.

Id. The unions sued Indeck for breach of contract. In defense of that lawsuit, Indeck,

like plaintiffs here, claimed that any agreement to construct the Olean project using

only union labor was void and unenforceable under section 8(e) of the National Labor

Relations Act. Id. Indeck also filed an unfair labor practice charge against the unions

                                              16
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 17 of 23




with the National Labor Relations Board asking it to declare any agreement for the

Olean Project which required Indeck to use only union labor void and enforceable

under section 8(e). Id. The Labor Board declared the agreement void and

unenforceable and ordered the unions to cease and desist from taking any further

actions to enforce the agreement.

      In declaring the agreement void under section 8(e), the Board analyzed the

agreement under Connell. The Board held that for an agreement to be valid under

section 8(e) it first must be entered into between a union and a construction industry

employer. Then, if it is, it must meet one of the two criteria (a) it must be entered into

in the context of an existing collective bargaining relationship or (b) to alleviate job

site friction caused by union and non-union employees working side-by-side (the

Denver Building Trades problem). Id at 412 (citing Connell, 421 U.S. at 633.) The

Board held the unions in Indeck failed to establish either of these criteria. Id.

      Like the agreement here, the Board held that the agreement in Indeck did not

arise in the context of an existing collective-bargaining relationship. Like the

agreement here, there was no collective bargaining relationship between Indeck and

the unions and the unions did not seek to represent the employees of Indeck. The

Board also held that the purpose of the agreement, like the agreement here, was not

to alleviate union and non-union friction at the jobsite, rather it was to remove union

opposition to the regulatory approval for the project. Id. Thus, the Board held the

unions violated Section 8(e) of the National Labor Relations Act by executing the




                                               17
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 18 of 23




agreement and ordered the unions to cease and desist from taking any action to

enforce the agreement. Id.

      Applying Connell and Indeck 5 to this case commands a similar result. First

and foremost, plaintiffs are not construction industry employers. They are real estate

developers. They do not employ members of the building and construction trades.

Because the construction industry proviso in Section 8(e) applies only to agreements

executed between unions and construction industry employers the proviso does not

save the agreement.

      Still, even if plaintiffs were construction industry employers, which they are

not, the proviso would not apply because (a) there was no preexisting collective

bargaining relationship between plaintiffs and the unions or (b) there is no evidence

that the agreement was designed to alleviate job site friction.

      Regarding the first prong the unions admit that there never has been a

collective bargaining relationship between the unions and the plaintiffs. And that the

agreement did not arise from a collective bargaining relationship. Indeed, the unions

admit the agreement is not a collective bargaining agreement. Patrick Gillespie, who

executed the agreement on the Union’s behalf, testified:




5Under Chevron U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837
(1984) “it is appropriate to defer to the reasonable statutory interpretation of the
Board, the agency primarily charged with the Act's implementation and
administration.” Spectacor Mgmt. Grp., 320 F.3d at 396 (citing Chevron).



                                             18
         Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 19 of 23




                  “Q.     Is the agreement that we’ve marked as P-1 a collective

          bargaining agreement?

                  Ms. Ehrenberg: Objection.

                  The Witness: No.”

Gillespie dep., 33:20-23 at exhibit 9.

When asked why the agreement was not a collective bargaining agreement, Gillespie

explained: “it’s not. I mean, it’s – it has no terms or conditions in it dealing with

individual unions.” Id., 35:7-9. Rather Gillespie testified the agreement is precisely

the type of agreement that Connell and Indeck say violates Section 8(e):

          “What this says is that the developer will behave in a certain way to

          track (sic) 6 out only to people who are signatories to collective

          bargaining agreement with the Philadelphia Building and Construction

          Trades Council.”

Id., 35:10-14.

          The second prong is also not present because the agreement relates to future

projects where no work has yet been performed. Therefore, the agreement was not

designed to alleviate friction between union and non-union workers working on the

same job site. To the contrary, the agreement did not apply to the Dobson Mills First

Phase, which was where the large labor protest occurred, and even if it did, there was

never any such friction that existed between the workers. The agreement exempted

that first phase of the 4041 Ridge Avenue project and Dobson Mills was permitted



6   As recorded in transcript, should probably be “contract.”

                                                        19
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 20 of 23




(and did) complete it with non-union contractors hired by Tocci. There is also no

language in the agreement that states it was executed to alleviate such friction. The

language of the agreement states it was executed to settle litigation brought by the

City and Councilmember Nutter, not to alleviate job site friction among union and

non-union employees. Agreement, 2-3.

      Accordingly, the construction industry proviso does not apply. The agreement

violates section 8(e). The Court should grant summary judgment to plaintiffs and

declare the agreement void and unenforceable.


      III.   THE 2006 AGREEMENT IS AN UNLAWFUL TAKINGS IN VIOLATION OF THE 5TH
             AMENDMENT.


      Under Section 7 of the National Labor Relations Act, 29 U.S.C. § 157, an

individual is free to join or refrain from joining a labor union. Also, under section

8(a)(1), 29 U.S.C. § 158(a)(1), it is an unfair labor practice for an employer to interfere

with an employee’s exercise of these rights. Thus, the Third Circuit holds that the

NLRA “preempts any state or local law that regulates conduct falling within sections

7 or NLRA.” Associated Builders & Contractors Inc. New Jersey Chapter v. City of

Jersey City, New Jersey, 836 F.3d 412, 417 (3d Cir. 2016) Likewise, under the

“unconstitutional conditions” doctrine, the City may not require a person to give up a

right – in this case the right not to interfere with an employee’s right to join or refrain

from joining a union - in exchange for the City dismissing litigation, where the benefit

sought has little or no relationship to the property. Dolan v. City of Tigard, 512 U.S.

374, 385, 114 S. Ct. 2309, 2317, 129 L. Ed. 2d 304 (1994).



                                               20
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 21 of 23




      It is true that the City possesses certain policy powers to regulate land use

Village of Euclid v. Ambler Realty Co., 272 U.S. 365, (1926) But the City does not

enjoy unlimited power to regulate all ownership rights in private property. Epstein,

179. To be valid a land use regulation must “substantially advance[s] legitimate state

interests” and not “den [y] an owner economically viable use of his land.” Agins v.

City of Tiburon, 447 U.S. 255, 260, (1980). If the City cannot show that the regulation

advances a legitimate state interest or that a development condition serves the same

purpose as an outright ban “the building restriction is not a valid regulation of land

use but “an out-and-out plan of extortion.” Nollan v. California Coastal Comm'n, 483

U.S. 825, 837, (1987).

      The city’s requirement that plaintiffs use union labor for the construction of

privately funded projects is not a proper exercise of the city’s police power. It serves

no legitimate state interest – only political ones. As Justice Scalia would put it – it is

an out-and-out plan of extortion. Id. The city admits it does it is not aware of any

permit it issued that required the use of union labor. City Ans. to Int. 3, at Ex. 8. The

agreement did not even apply to the project that gave rise to the litigation – Dobson

Mills Phase One. This is the project where the alleged commitments were made by

Winther, who transferred its rights to the property to Dobson Mills. Those

commitments did not matter once the concession to use union labor for future

construction projects at the two properties was extracted from plaintiffs. The

agreement therefore had nothing to do with securing compliance with the building or

zoning permits and everything to do with political paybacks.



                                               21
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 22 of 23




      This is a blatant unconstitutional exaction.

                                  CONCLUSION

      Based on the foregoing, plaintiffs respectfully request that the Court grant

summary judgment in their favor and declare any provisions of the 2006 settlement

agreement requiring plaintiffs and any successor to contract only with a construction

manager, general contractor, and/or subcontractor affiliated with the Unions,

including, without limitation paragraphs 2 and 3, void and unenforceable.

                                             Respectfully submitted,

                                             /s/ Walter S. Zimolong, Esq.
                                             Walter S. Zimolong, Esquire
                                             ZIMOLONG, LLC
                                             P.O. Box 552
                                             Villanova, PA 19085
                                             (215) 665-0842
                                             wally@zimolonglaw.com
                                             Attorneys for Plaintiffs

Dated: December 6, 2021




                                            22
      Case 2:21-cv-00273-GAM Document 37-4 Filed 12/06/21 Page 23 of 23




                               CERTIFICATE OF SERVICE


      I hereby certify the foregoing has been filed electronically and is available for

viewing and downloading from the Electronic Case Filing System of the United States

District Court for the Eastern District of Pennsylvania. I further hereby certify that,

in accordance with Fed. R. Civ. P. 5, service has been made upon counsel of record

via ECF.


Date: December 6, 2021                        /s/ Walter S. Zimolong, Esquire




                                             23
